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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOHN DOE #1 (a fictitious name),           :
                                           : CIVIL ACTION NO.: 2:21-CV-01408
                       Plaintiff,          :
                v.                         :
                                           :
DELAWARE COUNTY, MARK A. MURRAY, :               JURY TRIAL DEMANDED
in his individual and official capacity,   :
DELAWARE COUNTY JUVENILE                   :
DETENTION CENTER, TERESA D. MILLER, :
FORMER SECRETARY OF PENNSYLVANIA :
DEPARTMENT OF HUMAN SERVICES, in her :
individual capacity, THEODORE DALLAS,      :
FORMER SECRETARY OF THE                    :
DEPARTMENT OF HUMAN SERVICES, in           :
his individual capacity, CATHY UTZ, FORMER :
DEPUTY SECRETARY FOR THE OFFICE            :
OF CHILDREN, YOUTH AND FAMILIES, in        :
Her individual capacity, CHILD GUIDANCE    :
RESOURCE CENTER, JOHN DOES 1-100 and :
ABC ENTITIES 1-10,                         :
                                           :
                       Defendants.         :

                                           ORDER

       AND NOW, this                 day of                                     , 2021, upon

consideration of the Motion to Dismiss of Defendant, Delaware County, pursuant to Fed. R. Civ.

P. 12(b)(6), and any response thereto, it is hereby ORDERED and DECREED that Defendant’s

Motion is GRANTED and judgement is entered in favor of Defendant, Delaware County, and

any and all claims asserted against Defendant, Delaware County, are dismissed with prejudice.

                                              BY THE COURT:




                                                                                   J.
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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


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                       Plaintiff,          :
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OF CHILDREN, YOUTH AND FAMILIES, in        :
Her individual capacity, CHILD GUIDANCE    :
RESOURCE CENTER, JOHN DOES 1-100 and :
ABC ENTITIES 1-10,                         :
                                           :
                       Defendants.         :

 MOTION TO DISMISS OF DEFENDANT, DELAWARE COUNTY, TO PLAINTIFF’S
    FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(B)(6)

       Defendant, Delaware County, by and through its undersigned counsel, Marshall,

Dennehey, Warner, Coleman and Goggin, and John P. Gonzales, Esquire, files this Motion to

Dismiss Plaintiff’s First Amended Complaint pursuant to Fed. R. Civ. P. 12(b)(6). For the

reasons more fully set forth in the Memorandum of Law which is attached hereto and

incorporated herein by reference, Plaintiff’s First Amended Complaint and any and all claims

asserted against Defendant, Delaware County, should be dismissed with prejudice.
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       WHEREFORE, Defendant, Delaware County, respectfully requests that this Honorable

Court grant its Motion to Dismiss Plaintiff’s First Amended Complaint with prejudice.

                                            Respectfully submitted,

                                            MARSHALL DENNEHEY WARNER
                                             COLEMAN & GOGGIN


                                            BY:
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                                                   Attorney for Defendants Delaware County
                                                   and Delaware County Juvenile Detention
                                                   Center
Date: December 10, 2021
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOHN DOE #1 (a fictitious name),           :
                                           : CIVIL ACTION NO.: 2:21-CV-01408
                       Plaintiff,          :
                v.                         :
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DELAWARE COUNTY, MARK A. MURRAY, :               JURY TRIAL DEMANDED
in his individual and official capacity,   :
DELAWARE COUNTY JUVENILE                   :
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her individual capacity, CHILD GUIDANCE    :
RESOURCE CENTER, JOHN DOES 1-100 and :
ABC ENTITIES 1-10,                         :
                                           :
                       Defendants.         :

 MEMORANDUM OF LAW OF DEFENDANT, DELAWARE COUNTY IN SUPPORT
 OF ITS MOTION TO DISMISS TO PLAINTIFF’S FIRST AMENDED COMPLAINT
                 PURSUANT TO FED. R. CIV. P. 12(B)(6)

           Defendant, Delaware County, by and through its undersigned counsel, submits this

Memorandum of Law in Support of its Motion to Dismiss Plaintiff’s First Amended Complaint

pursuant to Fed. R. Civ. P. 12(b)(6).

      I.          PROCEDURAL AND FACTUAL BACKGROUND

           Plaintiff, identified only as John Doe #1, filed a Complaint on or about March 24, 2021,

asserting state law and civil rights claims arising from allegations that Plaintiff was subjected to

abuse while a resident at the Delaware County Juvenile Detention Center on multiple occasions

between 2015 and 2018 when he was a minor. See Pl. Compl., ECF No. 1. On September 27, 2021,
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Plaintiff filed an Amended Complaint based on the same allegations, but dismissed certain parties

and named several additional Defendants. See Pl. Amended Compl., ECF No. 19. Plaintiff’s

Amended Complaint purports to assert claims against the Delaware County Juvenile Detention

Center (“Detention Center”), the Child Guidance Resource Center, Delaware County, the

Delaware County Office of Children and Youth Services, Mark Murray, Teresa D. Miller,

Theodore Dallas, Cathy Utz, Davon Robertson, and 100 John Does and 10 ABC Entities. See id.

       Plaintiff’s Amended Complaint contains 14 Counts, including 13 Counts against Moving

Defendant, Delaware County: Count I asserts a state law negligence claim; Count III asserts a

state law negligent infliction of emotional distress claim; Count IV asserts a state law intentional

infliction of emotional distress; Count V asserts a state law “negligent failure to rescue” claim;

Count VI asserts a state law failure to warn claim; Count VII asserts a state law “civil conspiracy”

claim; Count VIII asserts a state law negligence per se claim; Count XI asserts a “civil rights

conspiracy” claim pursuant to 42 USC § 1983; Count X asserts a claim for excessive force in

violation of the Fourth Amendment, Eighth Amendment and Fourteenth Amendment to the United

States Constitution and pursuant to 42 USC § 1983; Count XI asserts a failure to intervene claim

pursuant to 42 USC § 1983; Count XII asserts a § 1983 claim pursuant to a “state created danger;”

Count XIII asserts a § 1983 “special relationship” claim, and; Count XIV asserts a § 1983

municipal liability claim. See ECF No. 19.

       Significantly, for purposes of this Motion to Dismiss, all of the allegations of abuse and

misconduct asserted in Plaintiff’s First Amended Complaint arise from the alleged actions of

employees or officials of the Delaware County Juvenile Detention Center. Despite first admitting

that the Detention Center is “a division of the Court Services Department of Delaware County,

governed by the Board of Judges, under the direction of President Judge Kevin F. Kelly,” Plaintiff




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now asserts that the Detention Center is “not a part of the judiciary or judicial branch” of the

Commonwealth. Compare ECF No. 1, at ¶ 14, with ECF No. 19, at ¶ 20. However, Plaintiff bases

his new argument on contradictory “evidence” and argumentative averments related to the alleged

oversight and operation of the Detention Center. See, e.g., ECF No. 19, at ¶¶ 14–31.

        Plaintiff asserts that the Detention Center is “an activity of Delaware County” and that it

was “owned, controlled, and/or operated by Delaware County.” Id. at ¶ 18. However, Plaintiff

acquiesces that Delaware County did not, in fact, maintain control and oversight of the Detention

Center during the time relevant to Plaintiff’s Complaint when he avers that “oversight or

governance of the [Detention Center] by the Board of Judges was an impermissible governing

structure which was established by Defendant, Delaware County.” Id. at ¶ 22. Moreover, Plaintiff’s

own exhibits confirm that it was the President Judge who was in control of the operation and

maintenance of the Detention Center during all times relevant to Plaintiff’s Amended Complaint.

See id., at Ex. C.

     II.        STANDARD OF REVIEW

        Federal Rule of Civil Procedure (12(b)(6) provides for the dismissal of a complaint for

failure to state a claim upon which relief may be granted. Fed. R. Civ. P. 12(b)(6). To avoid

dismissal and establish the grounds of his entitlement to relief, a plaintiff must plead “enough

factual matter” to “nudge [his] claims across the line from conceivable to plausible.” Phillips v.

Cty. of Allegheny, 515 F.3d 224, 234-35 (3d Cir. 2008) (quoting Bell Atl. Corp. v. Twombly, 550

U.S. 544, 556, 570 (2007)). A plaintiff is obligated to establish the grounds of his entitlement to

relief with more than mere labels and conclusions. Twombly, 550 U.S. at 555 (quotations omitted).

        Only a complaint that sets forth a claim which is plausible on its face will survive a motion

to dismiss. Id. at 679. Although a valid complaint requires only a “short and plain statement of the

claim showing that the pleader is entitled to relief,” Fed. R. Civ. P. 8(a)(2), the “plaintiff must at a


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minimum state the operative facts underlying the claim.” Herman v. Carbon County, 248 Fed.

Appx. 442, 444 (3d Cir. 2007) (citations omitted). A claim is plausible only when the plaintiff

“pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Id., 556 U.S. at 678; 129 S. Ct. at 1949 (citing Twombly, 550

U.S. at 556)).

                 The plausibility standard is not akin to a probability requirement,
                 but it asks for more than a sheer possibility that a defendant has acted
                 unlawfully. Where a complaint pleads facts that are merely
                 consistent with a defendant’s liability, it stops short of the line
                 between possibility and plausibility of entitlement to relief.

Id., 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557).

       In ruling on a motion under Rule 12(b)(6), the court must accept as true all well pleaded

factual allegations, and draw all reasonable inferences in favor of the Plaintiff. Doe v. Delie, 257

F.3d 309, 313 (3d Cir. 2001). However, the court “need not credit the non-movant’s conclusions

of law or unreasonable factual inferences.” Curay-Cramer v. The Ursuline Academy of

Wilmington, Delaware, Inc., 450 F.3d 130 (3d Cir. 2006) (citations omitted). The court may also

consider “matters of public record, orders, exhibits attached to the complaint and items appearing

in the record of the case,” in addition to reviewing the facts plead in the complaint. Mayer v.

Belichick, 605 F.3d 223, 230 (3d Cir. 2010) (citing Pension Benefit Guar. Corp. v. White Consol.

Indus., Inc., 998 F.2d 1192, 1196 (3d Cir. 1993)) (emphasis added); see also Hercik v. Rodale,

Inc., No. 03-CV-6667, 2004 WL 1175734, at *1 (E.D. Pa. May 27, 2004). If the complaint and

accompanying documents considered by the court fail to allege sufficient facts that “allow the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged,” then

the claim is not facially plausible and it must be dismissed. Iqbal, 556 U.S. at 678.




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    III.       LEGAL ARGUMENT

               A.      Plaintiff’ Failed to State a Claim Against Defendant, Delaware County
                       Pursuant to 42 U.S.C. § 1983; Therefore, Plaintiff’s Claims Against
                       Delaware County Fail as a Matter of Law.

       It is well established that a Plaintiff may not base a § 1983 action on the doctrine of

respondeat superior. City of Canton v. Harris, 489 U.S. 378, 385 (1989). “A Plaintiff ‘cannot

predicate liability on his § 1983 claims on a respondeat superior basis’” Parkell v. Danberg, 833

F.3d 313, 330 (3d Cir. 2016). In order to impose liability upon a public entity, such as Delaware

County, Plaintiff must identify a “policy” or “custom” that was the “moving force” behind the

alleged injury. See Jewell v. Ridley Township, 497 F. App’x 182, 185 (3d Cir. 2012); see also

Monell v. New York City Dept. of Soc. Servs., 436 U.S. 658, 691 (1978). Liability may only be

imposed upon local governments where the governmental body’s “deliberate conduct” was the

“moving force” behind the constitutional injury alleged. Bd. of Cty. Comm’rs of Bryan Cty. v.

Brown, 520 U.S. 397, 404 (1997) (emphasis in original).

       A policy exists “when a decision maker with final authority issues an official proclamation,

policy, or edict.” Noble v. City of Camden, 112 F.Supp.3d 208, 221 (D. N.J. 2015). Monell defined

a government policy as a “statement, ordinance, regulation or decision officially adopted and

promulgated by [a public entity’s] officers.” Id. at 690. The Court characterized an actionable

custom, which lacks the formal approval of a policy, as “such practices of state officials…[as are]

so permanent and well settled as to constitute a custom or usage with the force of law.” Id. at 691.

Further explicating the elements of direct municipal liability under § 1983, the Monell Court

concluded that, “it is when execution of a government’s policy or custom, whether made by its

lawmakers or by those whose edicts or acts may fairly be said to represent official policy, inflicts

the injury that the government as an entity is responsible.” Id. at 694.




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       In the instant case, Plaintiff’s First Amended Complaint does not identify a policymaker

or decisionmaker of Delaware County, who was the moving force behind any of the alleged abuse

or constitutional deprivations asserted by Plaintiff. See generally Pl. Amended Compl., ECF No.

19. Moreover, Plaintiff’s First Amended Complaint does not identify a policy or custom of

Delaware County which caused the alleged abuse set forth in Plaintiff’s First Amended Complaint.

See id. To the contrary, Plaintiff’s First Amended Complaint recites details of an investigation by

the Delaware County Public Defender’s Office concerning allegations of misconduct at the

Detention Center, which is not a County agency, but instead an agency of the Delaware County

Court of Common Pleas.

       As the Pennsylvania Supreme Court explained in Jefferson County Court Appointed

Employees Association v. Pennsylvania Labor Relations Board, 985 A.2d 697 (Pa. 2009):

               Article 5 of the Pennsylvania Constitution vests the judiciary with
               the power to administer justice. The Judicial Branch is right “to hire,
               fire, and supervise its employees is derived from that constitution
               source.” Further, the judiciaries authority over Court personnel “is
               essential to the maintenance of an independent judiciary.” Another
               branch of government thus may not encroach upon this judicial
               power, although it is not unlimited.”

Id. at 498 (citations omitted)

       The Detention Center is an arm of the courts, and therefore cannot support a § 1983 claim

against Delaware County, as a matter of law. See Co-Defendant, Detention Center’s Mot. to

Dismiss, ECF No. 23, at ¶ 4–6. Specifically, the Board of Judges, under the direction of the

President Judge of Delaware County controlled the Detention Center at all times material to

Plaintiff’s First Amended Complaint. See id.; see also ECF No. 19, at ¶ 19.

       Confusingly, Plaintiff asserts his claims against Delaware County by at once alleging that

Delaware County did actually operate the Detention Center and that the County impermissibly

delegated the operation of the Detention Center to the Board of Judges. See generally id. However,


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even the exhibits relied upon by Plaintiff to make his argument demonstrate that Detention

Center’s employees were controlled by the Detention Center and the Board of Judges, not

Delaware County. See id., at Ex. C. Specifically, Plaintiff’s Exhibit “C,” a certificate of compliance

issued by the Pennsylvania Department of Human Resources, shows that it was the President

Judge, Judge Joseph Cronin, Jr., not any Delaware County employee or representative, who

received and signed the certificate and developed the “plan of correction” required in order to

receive the certification. See id.

        Accordingly, despite Plaintiff’s contradictory argument and alleged “evidence,” the

Detention Center, was not operated or controlled by Delaware County at any time relevant to

Plaintiff’s Amended Complaint. In fact, the Detention Center was managed and operated at all

times by the Board of Judges and President Judge. Moreover, the employees of the Detention

Center are, in fact, employees of the Delaware County Court System, which is a part of the

Commonwealth of Pennsylvania Unified Judicial System, and are not employees of Delaware

County for purposes of imposing liability pursuant to 42 U.S.C. § 1983. See ECF No. 19, at Ex.

B, ¶ 1 (identifying a Detention Officer as an employee of the “Delaware County Juvenile Detention

Center,” not Delaware County).

        As such, no custom, policy or practice of Delaware County could be the moving force of

any constitutional violation at the Detention Center, as a matter of law. All claims asserted against

Defendant, Delaware County, pursuant to 42 U.S.C. §1983, therefore, should be dismissed with

prejudice.

                B.      Plaintiff’s State Law Claims are Barred by the Political Subdivision
                        Tort Claims Act, 42, Pa. C.S.A. § 8541 et seq.

                       1.       Plaintiff’s State Law Claims Based on Negligence Against
                                Delaware County are Legally Insufficient and Therefore, Fail
                                as a Matter of Law.



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       The Pennsylvania Political Subdivision Tort Claims Act (“Tort Claims Act”) provides a

general grant of immunity to all local municipalities and their employees for damages caused by

the negligent acts of the agency or its employees. See 42 Pa. C.S.A. § 8541 (“Except as otherwise

provided in this subchapter, no local agency shall be liable for any damages on account of any

injury to a person or property caused by any act of the local agency or an employee thereof or any

other person.”). There are, however, limited exceptions to governmental immunity provided by

the Tort Claims Act. See 42 Pa. C.S.A. § 8542(b).

       To impose liability against a municipality, a plaintiff must establish that his injury occurred

as a result of one of the nine enumerated acts and plead sufficient facts demonstrating:

               (1) the damages would be otherwise recoverable under common law
               or by statute creating a cause of action against one not having an
               immunity defense and (2), the injury must be caused by the
               negligent act(s) of the local agency or its employees.

Cohen v. City of Philadelphia, 847 A.2d 778, 780 (Pa. Commw. Ct. 2004) (citing Kilgore v. City

of Philadelphia, 717 A.2d 514 (Pa. 1998)).

       Plaintiff’s state law claims sounding in negligence fail as a matter of law as against

Delaware County. As previously established, the Detention Center was not operated or controlled

by Delaware County at any time relevant to Plaintiff’s Amended Complaint. In fact, the Detention

Center was managed and operated at all times by the Board of Judges and President Judge.

Moreover, the employees of the Detention Center are employees of the Delaware County Court

System, which is a part of the Commonwealth of Pennsylvania Unified Judicial System, and are

not employees of Delaware County for purposes of imposing liability pursuant to the theory of

respondeat superior. See ECF No. 19, at Ex. B, ¶ 1 (identifying a Detention Officer as an employee

of the “Delaware County Juvenile Detention Center,” not Delaware County). Accordingly,

Delaware County did not breach any duty to Plaintiff that would allow damages to be otherwise



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recoverable by Plaintiff under common law, nor were Plaintiff’s alleged injuries caused by the

negligent acts of Delaware County employees. Therefore, Delaware County is protected from

liability by the Tort Claims Act and Plaintiff’s state law negligence claims against Delaware

County fail as a matter of law.

                      2.       Plaintiff’s Intentional Infliction of Emotional Distress Claim
                               Against Delaware County Fails as a Matter of Law.

       While the Tort Claims Act sets forth several exceptions to this general grant of immunity

to local agencies, Pennsylvania courts have repeatedly held that local agencies are not liable for

the acts of agency employees that constitute “a crime, actual fraud, actual malice or willful

misconduct.” See 42 Pa. C.S.A. § 8550. Pennsylvania courts have defined “willful misconduct”

follows:

               Willful misconduct, for the purposes of tort law, has been defined
               by our Supreme Court to mean conduct whereby the actor desired to
               bring about the result that followed or at least was aware that it was
               substantially certain to follow, so that such desire can be implied. In
               other words, the term ‘willful misconduct’ is synonymous with the
               term ‘intentional tort.’

King v. Breach, 540 A.2d 976, 981 (Pa. Commw. Ct. 1988). As such, local agencies are immune

from liability for claims sounding in tort. See Beard v. Borough of Duncansville, 652 F.Supp.2d

611, 628 (W.D. Pa. 2009).

       Plaintiff’s intentional infliction of emotional distress claim fails as a matter of law. In order

to establish a state claim for intentional infliction of emotional distress, Plaintiff would need to

show: (1) the conduct is extreme; (2) the conduct is intentional or reckless; (3) the conduct caused

emotional distress; and (4) the distress is severe. Kornegey v. City of Philadelphia, 299 F.Supp.3d

675, 683 (E.D. Pa. 2018). Accordingly, Plaintiff’s claim is predicated on his ability to prove

intentional conduct on the part of Delaware County. However, Delaware County is a local agency

and therefore, immune from liability for claims sounding in tort. See Patterson, 141 F.Supp.2d at


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542–43. As such, Plaintiff’s intentional infliction of emotional distress claim against Delaware

County fails as a matter of law and must be dismissed, with prejudice.

    IV.        CONCLUSION

       WHEREFORE, Defendant, Delaware County, respectfully requests that this Honorable

Court grant its Motion to Dismiss Plaintiff’s Amended Complaint and dismiss all Plaintiff’s claims

against Moving Defendant, with prejudice.

                                             Respectfully submitted,

                                             MARSHALL DENNEHEY WARNER
                                              COLEMAN & GOGGIN


                                             BY:
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                                                    Email: jpgonzales@mdwcg.com

                                                    Attorney for Defendants Delaware County
                                                    and Delaware County Juvenile Detention
                                                    Center
Date: December 10, 2021




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                                CERTIFICATE OF SERVICE

       I, JOHN P. GONZALES, ESQUIRE, do hereby certify that a true and correct copy of

Defendant, Delaware County’s Motion to Dismiss was electronically filed with the Court on the

date below and is available for viewing and downloading from the ECF System. All counsel of

record was served via electronic notification.

                                                 MARSHALL DENNEHEY WARNER
                                                  COLEMAN & GOGGIN


                                                 BY:
                                                       JOHN P. GONZALES

                                                       Attorney for Defendants Delaware County
                                                       and Delaware County Juvenile Detention
                                                       Center
Date: December 10, 2021
